                           UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF ARIZONA
                                   TUCSON DIVISION

       In re: CHILES, DENNIS M                                           §   Case No. 4:13-10806-BMW
              MENDEZ-CHILES, DAWN                                        §
                                                                         §
   Debtor(s)                                                             §

                        NOTICE OF TRUSTEE'S FINAL REPORT AND
                          APPLICATIONS FOR COMPENSATION
                           AND DEADLINE TO OBJECT (NFR)

            Pursuant to Fed. R. Bankr. P.2002(a)(6) and 2002(f)(8), please take notice that
       Gayle E. Mills                             , trustee of the above styled estate, has filed a
       Final Report and the trustee and the trustee's professionals have filed final fee applications,
       which are summarized in the attached Summary of Trustee's Final Report and Applications
       for Compensation.

             The complete Final Report and all applications for compensation are available for
       inspection at the Office of the Clerk, at the following address:
             Bankruptcy Clerk of Court
             38 S. Scott Ave.
             Tucson, AZ 85701

              Any person wishing to object to any fee application that has not already been approved or
       to the Final Report, must file a written objection within 21days from the mailing of this notice.
       The proposed distribution is dependent on the Court's ruling on the allowance of Admistrative
       expenses, additional Court costs, remaining contests of claims, and additional interest.
       Objections must be in writing and filed with a request for a hearing with the Clerk, U.S.
       Bankruptcy Court, 38 S. Scott, Tucson, AZ 85701, the Trustee, Gayle Mills, P.O. Box 36317,
       Tucson, AZ 85740, and the U. S. Trustee, 230 N. 1st Ave., Ste. 204, Phoenix, AZ 85003-1706.
       In no objections are filed, the Court will act on the fee applications and the trustee may pay
       dividends pursuant to FRBP 3009 without further order of the Court.


      Date Mailed:     / / 4.21.14               By: /s/Gayle E. Mills


       Gayle E. Mills
       P.O. BOX 36317
       TUCSON, AZ 85740
       (520) 792-1115




UST Form 101-7-NFR (10/1/2010)




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                                      UNITED STATES BANKRUPTCY COURT
                                            DISTRICT OF ARIZONA
                                              TUCSON DIVISION

              In re: CHILES, DENNIS M                                                        §       Case No. 4:13-10806-BMW
                     MENDEZ-CHILES, DAWN                                                     §
                                                                                             §
         Debtor(s)                                                                           §

                                   SUMMARY OF TRUSTEE'S FINAL REPORT
                                   AND APPLICATIONS FOR COMPENSATION


                     The Final Report shows receipts of                                          $            3,071.62

                     and approved disbursements of                                               $                70.00
                                                            1
                     leaving a balance on hand of                                                $            3,001.62

                                                          Balance on hand:                                   $              3,001.62
                Claims of secured creditors will be paid as follows:

 Claim          Claimant                                       Claim Allowed Amount Interim Payments                         Proposed
 No.                                                         Asserted       of Claim          to Date                        Payment
                                                                 None
                                                          Total to be paid to secured creditors:             $                  0.00
                                                          Remaining balance:                                 $              3,001.62

                Applications for chapter 7 fees and administrative expenses have been filed as follows:
 Reason/Applicant                                                         Total Requested Interim Payments                  Proposed
                                                                                                    to Date                 Payment
Trustee, Fees - Gayle E. Mills                                                        767.91                     0.00           767.91
Trustee, Expenses - Gayle E. Mills                                                      32.05                    0.00            32.05
                                 Total to be paid for chapter 7 administration expenses:                     $                799.96
                                 Remaining balance:                                                          $              2,201.66




                 1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
   earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
   receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
   account of the disbursement of the additional interest.

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               Applications for prior chapter fees and administrative expenses have been filed as follows:
Reason/Applicant                                               Total Requested Interim Payments         Proposed
                                                                                         to Date        Payment
                                                        None
                             Total to be paid for prior chapter administrative expenses:    $                0.00
                             Remaining balance:                                             $            2,201.66

             In addition to the expenses of administration listed above as may be allowed by the
        Court, priority claims totaling $11,249.17 must be paid in advance of any dividend to
        general (unsecured) creditors.
              Allowed priority claims are:
Claim          Claimant                                        Allowed Amount Interim Payments           Proposed
No                                                                    of Claim          to Date          Payment
  4P           Department of Treasury                                 11,249.17                 0.00       2,201.66
                                                 Total to be paid for priority claims:      $            2,201.66
                                                 Remaining balance:                         $                0.00
              The actual distribution to wage claimants included above, if any, will be the proposed
        payment less applicable withholding taxes (which will be remitted to the appropriate taxing
        authorities).

            Timely claims of general (unsecured) creditors totaling $ 29,499.91 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Timely allowed general (unsecured) claims are as follows:
Claim          Claimant                                        Allowed Amount Interim Payments           Proposed
No                                                                    of Claim          to Date          Payment
  1            ARIZONA DEPARTMENT OF                                   1,392.65                 0.00              0.00
               ECONOMIC SECURITY
  2            CHECKSMART                                                587.50                 0.00              0.00
  3            CHECKSMART                                                613.50                 0.00              0.00
  4U           Department of Treasury                                 10,706.18                 0.00              0.00
  5            CASH TIME TITLE LOANS, INC.                               401.91                 0.00              0.00
  6            Sallie Mae                                              1,375.26                 0.00              0.00
  7            Franchise Tax Board                                     1,281.16                 0.00              0.00
  8            PYOD, LLC its successors and assigns                      328.28                 0.00              0.00
  9            PYOD, LLC its successors and assigns                      330.15                 0.00              0.00




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 10            JPMorgan Chase Bank, N.A.                            12,483.32                 0.00               0.00
                            Total to be paid for timely general unsecured claims:         $                  0.00
                            Remaining balance:                                            $                  0.00


            Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
        to be 0.0 percent, plus interest (if applicable).

              Tardily filed general (unsecured) claims are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments           Proposed
No                                                                   of Claim          to Date          Payment
                                                      None
                            Total to be paid for tardy general unsecured claims:          $                  0.00
                            Remaining balance:                                            $                  0.00


             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        ordered subordinated by the Court totaling $ 0.00 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
        ordered subordinated by the Court are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments           Proposed
No                                                                   of Claim          to Date          Payment
                                                       None
                                                Total to be paid for subordinated claims: $                  0.00
                                                Remaining balance:                        $                  0.00




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                                          Prepared By: /s/Gayle E. Mills
                                                                                       Trustee

       Gayle E. Mills
       P.O. BOX 36317
       TUCSON, AZ 85740
       (520) 792-1115



       STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
       Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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                                       United States Bankruptcy Court
                                            District of Arizona
In re:                                                                                  Case No. 13-10806-BMW
DENNIS M CHILES                                                                         Chapter 7
DAWN MENDEZ-CHILES
         Debtors
                                         CERTIFICATE OF NOTICE
District/off: 0970-4           User: stroude                Page 1 of 2                   Date Rcvd: Apr 21, 2014
                               Form ID: pdf001              Total Noticed: 49


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 23, 2014.
db/jdb        +DENNIS M CHILES,    DAWN MENDEZ-CHILES,     1257 E KELSI,    SAN TAN VALLEY, AZ 85140-4428
cr            +JPMORGAN CHASE BANK, N.A.,     Patricia Doyle-Kossick, PLC,     4500 S. Lakeshore Drive,   Suite 575,
                Tempe, AZ 85282-7187
cr            +Wells Fargo Bank N.A.dba Wells Fargo Dealer Servic,       c/o Jaburg & Wilk, P.C.,
                3200 N. Central Ave Ste. 2000,      Phoenix,, AZ 85012-2440
12352274      +A Speedy Cash Car,    Title Loans, LLC,     1242 B W. Main Street,    Mesa AZ 85201-7029
12352276      +AAA Auto Loan,    DBA Cash 1,     1203 W. University Drive,    Mesa AZ 85201-5417
12352277      +AAA Auto Title Loans,     CASH 1,    1203 W. University Drive,    Mesa AZ 85201-5417
12383819       ARIZONA DEPARTMENT OF ECONOMIC SECURITY,      OFFICE OF ACCTS RECEIVABLE & COLLECTIONS,    P O BOX 60,
                PHOENIX AZ 85001-0060
12352278      +American Family,    P.O. Box 9462,     Minneapolis MN 55440-9462
12352282      +CASH TIME TITLE LOANS, INC.,      4205 W GLENROSA AVE,    PHOENIX, AZ 85019-3308
12482476      +CHECKSMART,    c o Jefferson Capital Systems LLC,      PO BOX 7999,   SAINT CLOUD MN 56302-7999
12352280      +Cap One,    26525 N Riverwoods Blvd,     Mettawa IL 60045-3438
12352283      +Cash Time Title Loans,     1801 E. Main Street,    Mesa AZ 85203-9021
12352285      +Chase,    201 N Walnut Street Mailstop De1-1027,       Wilmington DE 19801-2920
12352284      +Chase,    Po Box 15298,    Wilmington DE 19850-5298
12352286      +Combs Unified School District,      301 E. Combs Rd.,,    Queen Creek AZ 85140-9164
12352287      +Commercial Check Control,     7250 Beverly Blvd., #200,     Los Angeles CA 90036-2560
12352288       Corp Amer,    2075 Big Timber Rd,     Elgin IL 60123-1140
12352292      +Creditacpt,    25505 W 12 Mile,     Southfield MI 48034-8316
12352295      +Disney Movie Club,    P.O. Box 758,     Neenah WI 54957-0758
12352296      +Edc/Mid-America Apartm,     6584 Poplar Ave Ste 300,     Memphis TN 38138-0620
12352297       Elite Podiatry PLLC,     PMB 274-16605 E. Palisades, #110,     Fountain Hills AZ 85268
12352314       Franchise Tax Board,     Bankruptcy Section MS A-340,     P.O. Box 2952,   Sacramento CA 95812-2952
12352298       Gecrb/Broy,    Po Box 981439,     El Paso TX 79998-1439
12352300      +Go Clean Family,    270 E. Hunt Highway, #16-321,      San Tan Valley AZ 85143-4962
12352301      +Home Tv & Appliance,     4630 E. Ray Rd.,    Gilbert AZ 85296-8483
12352303      +Hsbc Bank,    Po Box 30253,    Salt Lake City UT 84130-0253
12352302      +Hsbc Bank,    Po Box 60501,    City of Industry CA 91716-0501
12676189      +JPMorgan Chase Bank, N.A.,     P.O. Box 901032,    Ft. Worth, TX 76101-2032
12352305      +Orchard Bank C/O Capital One,      HSBC Card Services,    P.O. Box 60501,
                City of Industry CA 91716-0501
12352306      +Progressive Direct,     P.O. Box 31260,    Tampa FL 33631-3260
12352307      +Rac Acceptance,    5501 Headquarters Dr,     Plano TX 75024-5837
12352310      +Scorpian Tech,    P.O. Box 30718,     Mesa AZ 85275-0718
12352311      +Simi Imaging,    One City Blvd West, Suite 1100,     Orange CA 92868-3647
12352312      +Sirius XM Radio,    P.O. Box 78054,     Phoenix AZ 85062-8054
12352313      +Sonora Quest Labs,    P.O. Box 52880,     Phoenix AZ 85072-2880
12352315      +Telecheck Services,     C/O TRS Recovery,    P.O. Box 17450,    Denver CO 80217-0450
12352316       Valley Endocrine,    517 S. 63rd Street, #105,     Mesa AZ 85206
12352317      +Wells Fargo,    3476 Stateview Blvd,     Fort Mill SC 29715-7200
12352318      +Wfds/Wds,    Po Box 1697,    Winterville NC 28590-1697
12352319      +Wfhm,    3476 Stateview Blvd,     Fort Mill SC 29715-7203

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
12352275     +E-mail/Text: bankruptcy@speedyinc.com Apr 22 2014 02:03:28      A Speedy Cash Car Title Loans, LLC,
               1242 B W Main,   Mesa AZ 85201-7029
12352279     +E-mail/Text: bankruptcynotices@azdor.gov Apr 22 2014 02:02:47       Arizona Department of Revenue,
               P.O. Box 52138,   Phoenix AZ 85072-2138
12352290     +E-mail/Text: creditonebknotifications@resurgent.com Apr 22 2014 02:03:10       Credit One Bank,
               Po Box 98875,   Las Vegas NV 89193-8875
12352299      E-mail/PDF: gecsedi@recoverycorp.com Apr 22 2014 02:26:15      Gecrb/Care,    Po Box 981439,
               El Paso TX 79998-1439
12352304      E-mail/Text: HWIBankruptcy@hunterwarfield.com Apr 22 2014 02:04:14       Hwarfield,
               3111 West Mlk,Jr Bvd,2nd Floor,   Tampa FL 33607
12352294      E-mail/Text: cio.bncmail@irs.gov Apr 22 2014 02:03:22      Department of Treasury,
               Internal Revenue Service,   P.O. Box 1301,   Charlotte NC 28201
12668806     +E-mail/PDF: resurgentbknotifications@resurgent.com Apr 22 2014 02:25:50
               PYOD, LLC its successors and assigns as assignee,    of FNBM, LLC,    Resurgent Capital Services,
               PO Box 19008,   Greenville, SC 29602-9008
12352308     +E-mail/PDF: pa_dc_claims@salliemae.com Apr 22 2014 02:28:52      Sallie Mae,    11100 Usa Pkwy,
               Fishers IN 46037-9203
12596609     +E-mail/PDF: pa_dc_claims@salliemae.com Apr 22 2014 02:28:52      Sallie Mae,    c/o Sallie Mae Inc,
               220 Lasley Ave,   Wilkes Barre Pa 18706-1496
                                                                                              TOTAL: 9

           ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****




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District/off: 0970-4                  User: stroude                      Page 2 of 2                          Date Rcvd: Apr 21, 2014
                                      Form ID: pdf001                    Total Noticed: 49

12485625*       +CHECKSMART,    c o Jefferson Capital Systems LLC,    PO BOX 7999,                   SAINT CLOUD MN 56302-7999
12486163*       +CHECKSMART,    c o Jefferson Capital Systems LLC,    PO BOX 7999,                   SAINT CLOUD MN 56302-7999
12486346*       +CHECKSMART,    c o Jefferson Capital Systems LLC,    PO BOX 7999,                   SAINT CLOUD MN 56302-7999
12352281*       +Cap One,    26525 N Riverwoods Blvd,    Mettawa IL 60045-3438
12352289*        Corp Amer,    2075 Big Timber Rd,    Elgin IL 60123-1140
12352291*       +Credit One Bank,    Po Box 98875,    Las Vegas NV 89193-8875
12352293*       +Creditacpt,    25505 W 12 Mile,    Southfield MI 48034-8316
12352309*       +Sallie Mae,    11100 Usa Pkwy,    Fishers IN 46037-9203
                                                                                                                    TOTALS: 0, * 8, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 23, 2014                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 21, 2014 at the address(es) listed below:
              GAYLE ESKAY MILLS   gaylemills@earthlink.net, AZ28@ecfcbis.com
              JANESSA ERIN KOENIG    on behalf of Creditor   Wells Fargo Bank N.A.dba Wells Fargo Dealer
               Services and Wells Fargo Auto Finance jek@jaburgwilk.com, lmc@jaburgwilk.com
              JOHNATHAN DWAYNE DENNY    on behalf of Debtor DENNIS M CHILES jd@dennylawoffices.com,
               connie@dennylawoffices.com
              JOHNATHAN DWAYNE DENNY    on behalf of Joint Debtor DAWN MENDEZ-CHILES jd@dennylawoffices.com,
               connie@dennylawoffices.com
              PATRICIA DOYLE-KOSSICK     on behalf of Creditor   JPMORGAN CHASE BANK, N.A. pdkecf@cox.net
              U.S. TRUSTEE   USTPRegion14.PX.ECF@USDOJ.GOV
                                                                                             TOTAL: 6




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